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                                    UNITED STATES DISTRICT COURT
                                     DISTRICT OF MASSACHUSETTS


BRENT S. and ANGIE S., individually and as                )
representatives of the class of similarly situated        )
individuals,                                              )
                                                          )
                      Plaintiffs,                         )
                                                          )     CIVIL ACTION
                 v.                                       )     NO. 1:17-CV-11569-ADB
                                                          )
BLUE CROSS AND BLUE SHIELD OF                             )
MASSACHUSETTS, INC.,                                      )
                                                          )
                      Defendant.
                                                          )

                 DEFENDANT’S NOTICE OF SUPPLEMENTAL AUTHORITY
                        IN SUPPORT OF ITS MOTION TO DISMISS
                PLAINTIFFS’ FIRST AMENDED CLASS ACTION COMPLAINT

         Defendant Blue Cross and Blue Shield of Massachusetts, Inc. (“BCBSMA”), by and

through its undersigned counsel, hereby gives notice to the Court of the January 28, 2019 decision

of the United States District Court for the Southern District of Ohio, A.G. by and Through N.G. v.

Community Ins. Co., 1:18-CV-300, 2019 WL 340471 (S.D. Ohio Jan. 28, 2019), a true and correct

copy of which is attached hereto as Exhibit A. The court granted the defendant’s partial motion

to dismiss the plaintiff’s complaint alleging claims under the Employee Retirement Income

Security Act of 1974, as amended (“ERISA”), for plan enforcement, breach of the Mental Health

Parity and Addiction Act, and breach of fiduciary duty based on allegations that the defendant

improperly withheld benefits for treatment of his child’s mental health and/or substance abuse

issues, which the defendant denied under a plan exclusion for wilderness camps.

         Like the plan at issue in this action, the plan in A.G. excluded “outward bound programs”

and “[w]ilderness camps.” A.G., 2019 WL 340471 at * 2. The court rejected the plaintiff’s

argument that “a ‘wilderness therapy program,’ [is] not a ‘wilderness camp’ ... [and] that

‘wilderness camps’ could be understood to refer to such experiential programs such as Outward

Bound.” Id. at *4. Next, the court held that it “simply cannot find that Anthem’s interpretation


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that Blue Ridge is a wilderness camp, and therefore excluded under the Plan, is arbitrary and

capricious. Therefore, Count 1 [for enforcement of the Plan under 29 U.S.C. § 1132(a)(1)(B)]

fails as a matter of law and is dismissed.” Id.

         In BCBSMA’s Motion to Dismiss Plaintiffs’ First Amended Class Action Complaint,

BCBSMA likewise argues that Plaintiffs have not stated a claim under § 1132(a)(1)(B) because

the Recreation Exclusion, which excludes services rendered by a “wilderness” or “ranch” program,

expressly excludes the services Plaintiffs’ child received at Ashcreek Ranch, and Ashcreek Ranch

is not otherwise a licensed mental health or substance abuse residential treatment program.


                                         BLUE CROSS AND BLUE SHIELD OF
                                         MASSACHUSETTS, INC.

                                         By Its Attorneys,


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Dated: February 5, 2019


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                                 CERTIFICATE OF SERVICE

         I, Lisa Veasman, hereby certify that this document filed through the ECF system will be

sent electronically to the registered participants as identified on the Notice of Electronic Filing

(NEF) and paper copies will be sent to those indicated as non-registered participants on February

5, 2019.


                                               /s/ Lisa Veasman
                                               Lisa Veasman




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